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                       DECLARATION OF RAUL DAVID GARCIA



I, Raul David Garcia, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that
the following is true and correct:



   1. My name is Raul David Garcia. I am from Venezuela.

   2. Many years ago, I participated in a protest against the Venezuelan dictatorship. For that, I
      was arrested and detained for 48 hours, during which Venezuelan authorities beat me,
      leaving me with permanent scars.

   3. Fearing for my safety, I left Venezuela and lived in Colombia for over a decade. In 2023,
      criminal groups in Colombia began extorting me, forcing me to flee again. I came to the
      United States through a CBP One appointment to seek asylum.

   4. When I arrived, immigration officials detained me. They told me my initial interview was
      positive, but that I would be held in Otero detention center for about 6 months while my
      case was processed.

   5. In mid-January 2025, I had my immigration court hearing. I told the judge about my
      detention and abuse in Venezuela, but it did not matter. The judge ordered me deported.

   6. Later on during January 2025, an ICE officer called me over and confirmed that I had no
      criminal record. In early February, 2025, an officer asked for my clothing size and told
      me I was being transferred to a detention facility in El Paso. Once I got off a bus in El
      Paso, the officers started guiding me towards a military plane. I tried to ask where we
      were going and requested to speak with my attorney. Instead of responding, the officers
      grabbed me roughly by the neck, slammed me against the bus, and signaled to me to stay
      quiet.

   7. Then, without warning, I was loaded onto a military plane with other detainees. No one
      told us where we were going. We were strapped down in the plane, so that even in the
      case of an emergency we would not be able to escape. It was only after landing that an
      officer announced we were in Guantánamo. He said ICE was figuring out how to deport
      us, and if that was not possible, we would stay there indefinitely. He told us the orders
      came from above and that there was nothing we could do.

   8. Upon arrival, I informed the officers that I have asthma. When they weighed me at
      intake, I was 145 pounds. Many of the people I was traveling with were elderly.

   9. The officers made it clear that we had no rights. When I asked for a lawyer, I was told
      that there were no plans to take us out and that we would remain in Guantánamo for as
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       long as they wanted. There was a sign posted to the entrance of the area where they did
       our intake that said that we would remain in Guantanamo for however long necessary.

   10. I was initially placed in solitary confinement in Camp 6. It was freezing, and I felt like a
       chicken trapped in an incubator. The air conditioning blasted through small holes in the
       wall and I was given only a thin blanket and no pillow. The mattress was painful, and I
       could barely sleep. The facility seemed as though it was prepared at the last minute to
       hold detainees, it was not even finished.

   11. Eventually, I was transferred to the Migrant Operations Center. Things were bad there as
       well. There, at first, officers did not let anyone out of their cells. There were elderly
       detainees who looked frail and sick, and I feared some of them might die. Eventually, an
       ICE officer arranged for some of them to go to a small recess area, which was only about
       10 meters long and 5 meters wide. But many detainees refused to go outside because they
       did not want to be touched by officers during searches.

   12. The guards humiliated us every time we left our cells. We were forced to strip, jump, and
       cough. When we showered, officers sometimes entered and ordered us to spread our
       buttocks. If anyone refused, they were beaten. The guards openly threatened us. They
       said that if anyone tried to escape, they would be shot without question.

   13. The medical care was nonexistent. My throat hurt constantly, I had severe headaches, and
       I developed rashes from the unsanitary conditions. One man with hypertension seemed
       visibly unwell but he received no treatment, and his blood pressure was not regulated
       while at Guantanamo. Another detainee suffering from severe mental distress said he was
       hearing voices and could not sleep. Instead of receiving medical care, he was forced to
       take 14 pills a day.

   14. The horrors I witnessed were unimaginable. One day, I saw a man try to hang himself.
       The officers rushed in, threw a sheet over him, and dragged him out. They did not check
       his vitals or provide medical attention. When he regained consciousness and started
       coughing, they simply tossed him back into his cell and did not follow up for further
       medical examination or treatment.

   15. Guantánamo was a thousand times worse than any detention facility I had been in before.
       It was easy to lose the will to live. With no contact with the outside world, it felt like I
       had already disappeared, like I had been kidnapped. I had been kidnapped in Mexico
       before, and at least my captors there told me their names. In Guantánamo, the officers
       gave no reassurances, no explanations. The only thing missing was a bag over my head. I
       thought I was going to lose my mind or die in that place.


Executed on this 28 day of February, 2025.

/s/ Raul David Garcia
Raul David Garcia
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Talia Roma, certify that I am fluent in both English and Spanish. On February 28, 2025,

I personally spoke with Raul David Garcia and read the foregoing declaration to him, translated

into Spanish faithfully and accurately, over the phone. Mr. Garcia affirmed that he understood

my translation and that the information in the above declaration is true and

accurate.

       Due to Mr. Garcia being currently in transit in Venezuela, it was not possible to obtain a

written signature on the above declaration. In addition to confirming that the information in the

above declaration is true, Mr. Garcia also gave me verbal consent to sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
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